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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

LELAND FOSTER,

      Plaintiff,

Vs.                                Civil Action No: 2:18-cv-10545
                                   Honorable Sean F. Cox
CROSSROADS SHOPPING CENTER
INVESTMENTS, LLC, a Delaware
Limited Liability Company; BIG LOTS
STORES, INC., an Ohio Corporation for
Profit; and FAMILY FARM & HOUSE, INC.,
A Michigan Corporation for Profit,

       Defendants.
 OWEN DUNN JR. (P66315)                 MATTHEW J. CONSOLO (P75214)
 VALERIE J. FATICA (0083812)            SECREST WARDLE
 LAW OFFICES OF OWEN B. DUNN,           Attorneys for Defendant – Big Lots
 JR.                                    Stores
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          STIPULATION FOR DISMISSAL AS TO BIG LOTS, ONLY

      The above entitled cause having been amicably adjusted between the parties

hereto;
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      IT IS HEREBY STIPULATED AND AGREED by and between the parties

hereto and their respective counsel that Plaintiff’s Complaint shall be dismissed with

prejudice and without costs to Defendant, Big Lots Stores, Inc. only.

      IT IS FURTHER STIPULATED AND AGREED that this dismissal does not

resolve the last pending claim and the case remains open.

LAW OFFICES OF                                SECREST WARDLE
OWEN B. DUNN, JR.

By: /s/ Owen Dunn, Jr. (w/consent)____        By: /s/ Matthew J. Consolo______
      Owen Dunn, Jr. (P66315)                    Matthew J. Consolo (P75214)
      Attorney for Plaintiff                     Attorney for Defendant – Big Lots
                                                     Stores, Inc., ONLY

            ORDER FOR DISMISSAL AS TO BIG LOTS, ONLY

      In accordance with a stipulation to that effect;

      IT IS HEREBY ORDERED that Plaintiff’s Complaint shall be dismissed with

prejudice and without costs to Defendant, Big Lots Stores, Inc., only.

      IT IS FURTHER ORDERED that this dismissal does not resolve the last

pending claim and the case remains open.

Dated: August 21, 2018                        s/Sean F. Cox
                                              Sean F. Cox
                                              U. S. District Judge
